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                           FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 19-7117                                                  September Term, 2020
                                                             FILED ON: OCTOBER 23, 2020

FADI ELSALAMEEN,
                      APPELLANT

V.


BANK OF PALESTINE, P.L.C.,
                    APPELLEE


                          Appeal from the United States District Court
                                  for the District of Columbia
                                      (No. 1:16-cv-01976)


       Before: GARLAND and PILLARD, Circuit Judges, and SENTELLE, Senior Circuit Judge

                                       JUDGME NT

       The court has considered this appeal on the record from the United States District for
the District of Columbia, and on the briefs and oral arguments of the parties. The court has
given the issues full consideration and has determined that they do not warrant a published
opinion. See FED. R. APP. P. 36; D.C. CIR. R. 36(d). It is hereby

       ORDERED AND ADJUDGED that the judgment of the District Court is AFFIRMED.

        Plaintiff Fadi Elsalameen appeals from the district court's dismissal of his complaint
for lack of personal jurisdiction, arguing that personal jurisdiction was proper under the
District of Columbia's long-arm statute, D.C. CODE§ 13-423(a)(4). On the record before
the court the plaintiff is unable to establish any of the three "plus factors" required to obtain
personal jurisdiction under that statute. See Crane v. Carr, 814 F.2d 758, 762 (D.C. Cir.
1987). The record evidence does not show that the defendant "[l] regularly does or solicits
business, [2] engages in any other persistent course of conduct, or [3] derives substantial
revenue from goods used or consumed, or services rendered, in the District of Columbia."
D.C. CODE§ 13-423(a)(4) (emphases added).

       We also deny the plaintiff's request that we remand with instructions to allow him to
take additional jurisdictional discovery into the defendant's contacts with governmental
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entities and the International Finance Corporation ("IFC"). At no point in the district court
litigation did the plaintiff contend that the District of Columbia's "government contacts
exception," see Env't Research Int'!, Inc. v. Lockwood Greene Eng'rs, 355 A.2d 808, 813
(D.C. 1976), was inapplicable to the defendant's contacts with those entities or the IFC.
Notably, after the defendant invoked the exception, the plaintiff failed to contest it--whether
in opposition to motions to dismiss for want of personal jurisdiction filed both before and
after defendant's assertedly inadequate production, or by motion to compel production of
the withheld information. As a result, the plaintiff's undifferentiated request for
jurisdictional discovery did not alert the district court of the legal objection he now raises.
Accordingly, that contention was forfeited. See Gov't of Manitoba v. Bernhardt, 923 F.3d
173, 179 (D.C. Cir. 2019) ("Absent exceptional circumstances, a party forfeits an argument
by failing to press it in district court.").

       Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk is
directed to withhold issuance of the mandate herein until seven days after resolution of any
timely petition for rehearing or petition for rehearing en bane. See FED. R. APP. P. 41(b);
D.C. CIR. R. 41.



                                            Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                    BY:   /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
